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                        UNITED STATES DISTRICT COURT
                DISTRICT OF MASSACHUSETTS – WESTERN DIVISION

                                                     CIVIL ACTION NO: 3:13-CV-30175-MAP

__________________________________________
MICHAEL VERVERIS                           )
      Plaintiff                            )
                                           )
v.                                         )
                                           )
STEVEN KENT, MICHAEL MITCHELL              )
CLAYTON ROBERSON, JR., BARRY               )
DELAMARTER, CHRISTOPHER COLLINS, )
EDWARD VAN ZANDT, JOSEPH GENTILE )
JOHN DELANEY, and THE CITY OF              )
SPRINGFIELD                                )
      Defendants                           )
__________________________________________)



   DEFENDANT, CITY OF SPRINGFIELD STATEMENT OF UNDISPUTED FACTS
                        PURSUANT TO L.R. 56.1



   The facts cited below come directly from the Plaintiff’s complaint (see Dct. No.: 1), the

Plaintiff’s Answers to the City’s Interrogatories (hereinafter “Exhibit 1”), the Plaintiff’s

Deposition (hereinafter “Exhibit 2”) and the Plaintiff’s Responses to the City’s Document

Requests (hereinafter “Exhibit 3).

   1. At about 11:30pm on January 8, 2011, the Plaintiff and two friends, Chauncy Hardy and

       Tom Derosa, patronized “Club Glo” in the City of Springfield. See Exhibit 2 at pg. 29-30.

   2. The Plaintiff left Club Glo with his friends at approximately 2:00am on January 9, 2011.

       See Exhibit 2 at pg. 38.

   3. As the Plaintiff exited the club he noticed that the street was “very congested” with

       people. See Exhibit 2 at pg. 39.
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4. The Plaintiff and his friends walked from the club, located on Worthington Street, to Tom

   Derosa’s car which was parked near Sterns Square. See Exhibit 2 at pg. 39.

5. The Plaintiff sat in the front seat passenger side of the vehicle and Tom Derosa was

   driving. See Ververis et al v. Kent et al, 3:13-cv-30175-MAP, Dct No.:1 at ¶ 18.

6. The Plaintiff alleges that as Derosa waited to turn onto Worthington Street, Sergeant Kent

   approached the passenger side and told the Plaintiff to “Get out of here.” See Exhibit 2 at

   pg. 49.

7. The Plaintiff alleges that when Derosa turned on to Worthington Street, the Plaintiff

   heard “a bang” at the rear of the vehicle. See Exhibit 2 at pg. 50.

8. Derosa got out of the vehicle but two or three officers “rushed” him back into the vehicle.

   Id.

9. After Derosa got back into the vehicle, he rolled down the passenger window and shouted

   at the officers. Id.

10. At this point, the officers rushed the Plaintiff’s window and began punching the Plaintiff.

   Id.

11. The Officers forcibly removed the plaintiff from the vehicle. See Ververis et al v. Kent et

   al, 3:13-cv-30175-MAP, Dct No.:1 at ¶¶ 28-30.

12. Once out of the vehicle, the plaintiff claims that, despite the fact that he offered no

   resistance to being arrested, he was variously struck and choked until rendered

   unconscious. Id at ¶¶ 31-40.

13. The plaintiff claims that once he was rendered unconscious, the defendant police officer

   Roberson (hereinafter “Roberson) dragged the plaintiff through the snow-covered ground
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   by the collar of his shirt and then dumped his body on the ground while kicking him. Id

   at ¶¶ 41-44.

14. The plaintiff was then transported to the police station, located at 130 Pearl Street, where

   the plaintiff alleged he advised Roberson that the handcuffs had been placed too tightly

   around his wrist, the plaintiff alleged that Roberson temporarily loosened them and then

   secured them even tighter causing the Plaintiff’s wrists to have permanent scars. Id at ¶¶

   48-51.

15. It is alleged that the defendant officer Kent (hereinafter “Kent”) drafted a false report that

   served as the justification for criminal charges of disorderly conduct, assault and battery

   of a police officer, resisting arrest and attempted larceny of a firearm. Id. at ¶¶ 57-58.

16. The plaintiff further alleges in his complaint that though numerous witnesses were in the

   vicinity at the time of the arrest, police personnel did not obtain any statements from

   those witnesses. Id. at ¶¶ 45-46.

17. The plaintiff alleges that at one point one of the witnesses, Raquel Peroza, was using her

   smartphone to record the officers who were taking the plaintiff into custody and the

   defendant police officer Collins (hereinafter “Collins”) threatened her arrest and seized

   her smartphone without a warrant, a subpoena, or Peroza’s permission. Id. at ¶¶ 52-56.

18. Aware of the existence of that seized smartphone, the plaintiff asserts that the defendant

   police officers Kent, Van Zandt, Roberson, Mitchell, Collins and Delamarter did not

   disclose that information during the course of an internal affairs investigation. Id. at ¶¶

   56; 60-62.

19. As to the criminal charges brought against the plaintiff, the complaint states that the

   attempted larceny of a firearm charge was dismissed voluntarily by the Commonwealth
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       in April, 2013 and, that same month and following a bench trial, the plaintiff secured an

       acquittal as to the remainder. Id. at ¶¶ 72-73.

                                             THE DEFENDANT,
                                             CITY OF SPRINGFIELD
                                             By Its Attorneys

                                             /s/ John T. Liebel

                                             ______________________________
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                                             ______________________________
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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true copy of the within Defendant’s Motion was
served upon the Plaintiff on this 12th day of December, 2014 via the Federal Court’s ECF
Notice and delivery System to all parties.

SIGNED under the penalties of perjury.

Date: December 12, 2014

                                             /s/ Anthony I. Wilson
                                             ____________________________
                                             Anthony I. Wilson, Esq.
